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                                                                              2018 Jan-04 PM 06:02
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHWESTERN DIVISION

JANE DOE,                              )
                                       )
        Plaintiff,                     )
                                       )       CIVIL ACTION NUMBER:
v.                                     )
                                       )            3:17-cv-01344-CLS
THE UNIVERSITY OF NORTH                )
ALABAMA, DR. KENNETH D.                )
KITTS, DR. DAVID SHIELDS,              )
DR. JANA BEAVER, DR.                   )
JEROME GAFFORD, &                      )
TAMMY W. JACQUES,                      )
                                       )
        Defendants.                    )

                     DECLARATION OF KENNETH D. KITTS

        I, Kenneth D. Kitts, declare under penalty of perjury and pursuant to 28

U.S.C. § 1746 that the following is true and correct:

     1. My name is Kenneth D. Kitts. I am the President of the University of North

Alabama (“UNA”). I have served in this capacity since March 30, 2015.

     2. The Board of Trustees of the University of North Alabama has delegated to

me the discretion and authority to enter into employment contracts on behalf of

UNA. I exercised that discretion in deciding to enter into an employment

agreement with David Dickerson in 2015. I made this decision based on the

recommendation of Dr. Jana Beaver (Chair of the Department of Management and

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Marketing), Dr. Gregory A. Carnes (Dean of the College of Business) and Dr. John

Thornell, (Vice President for Academic Affairs and Provost). Upon the

recommendation of those administrators, I made the decision to offer Dickerson a

position as a Visiting Associate Professor for the period August 7, 2015 through

the end of the two-semester, 2015-2016 academic year. I also made the decision

that Dr. Dickerson’s employment would be converted to tenure-track if Dickerson

achieved “Scholarly Academic” status under the guidelines of the American

Association of Colleges and Schools of Business guidelines by May 1, 2016. A

copy of the employment agreement with Dr. Dickerson that I entered into on

behalf of UNA is attached hereto as Exhibit A.

   3. In December 2015, I exercised my discretion to accept the recommendation

to place Dickerson on administrative leave through the end of the Spring 2016

semester and to not renew his employment agreement when it expired. The

recommendation was made by UNA’s Provost, Dr. John Thornell, and the Dean of

the College of Business Greg Carnes. I had the discretion to reject their

recommendation and to immediately terminate Dickerson’s employment. I

carefully considered the possibility of immediate termination of employment

versus the solution that was recommended. I was concerned that Dickerson would

take the position that early termination of his contract would entitle him to a due

process hearing where he could respond to and defend against the allegations of
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sexual misconduct that our Title IX Office had investigated, and to be paid his

salary during the hearing process. A hearing might have necessitated testimony

from the students affected by his conduct, which could have been intimidating or

emotionally challenging for those students. It also would have risked exposing the

identities of these students, thus implicating the Family Educational and Privacy

Rights Act (FERPA). I was informed that Dickerson had said that, if fired, he

intended to file a grievance under UNA’s policies and to defend against the

accusations, which would have resulted in protracted delays that might have

extended beyond May 1, 2016. I believed that would have presented many

contractual ramifications and administrative complications. My intent in placing

Dickerson on administrative leave was to get him off campus quickly and prohibit

student contact. I believed that course of action would lessen the chance of the

identities of the students involved becoming public and avoid any emotional

impact on those students. I made the ultimate choice not to immediately terminate

Dickerson’s employment, but to accept the recommendation to place Dickerson on

administrative leave until his contract term expired, because I believed that it

protected the best interests of the students involved as well as those of the entire

UNA community by removing him from campus while avoiding protracted

procedural appeals and potential litigation by Dickerson.



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